Case 2:04-CV-02279-SHI\/|-tmp Document 26 Filed 04/19/05 Page 1 of 4 Page|D 35

 

 

F ;__ 1
n\r THE uN:TED sTATEs DIsTRICT coURT "' ' ‘j;
FOR THE WESTERN DISTRICT oF TENNESSEE 5 ' l ,
WESTERN DIVISION USMFR f9 £‘\H|U l+_
léos§g-H _H, m _j‘.f__.r__lo
GoRDoN s. JAcKsoN, et al., W§ <'§j=Li;-‘§,' HE,?_HP,§;FS'
Plaintiffs,
vs. No. 04¢2279_@1@

WAL-MART STORES, INC.,

Defendant.

 

ORDER AMENDING SCHEDULING ORDER

 

Pursuant to the joint motion to amend the scheduling order
deadlines, filed on March l, 2005, a status conference was held
on April ll, 2005. For good cause shown, the motion is granted.

The schedule previously set in this case is amended as follows:

l. Parties to supplement Rule 26 disclosures on or before

May 2, 2005.
2. Joinder of any parties and amendment of pleadings due

on or before July l, 2005.

3. Completion of all non-expert discovery by October ll,
2005.

4. Expert witness discovery:
* Plaintiffs to serve expert reports by

September 12, 2005.

* Depositions of plaintiffs' experts to be completed

by October 3, 2005.

This document entered on the docket heitiécompliance
v ‘_OE;‘

wthme§Sende?Qm)FHCPon

Case 2:04-CV-O2279-SHI\/|-tmp Document 26 Filed 04/19/05 Page 2 of 4 Page|D 36

* Defendant to serve expert reports by October 24,
2005.

* Depositions of defendant's experts by November 14,
2005.

* Rebuttal expert reports to be exchanged by

December 9, 2005.

* All Rebuttal expert depositions by January 6,
2006.
5. Dispositive motions due February 3, 2006.
6. The parties shall file a joint proposed pretrial order

by 5:00 p.m. on April 28, 2006.

7. A pretrial conference is reset for Friday, May 5, 2006,
at 9:30 a.m.

8. The non-jury trial is reset from June 27, 2005, to
Monday, May 15, 2006, at 9:30 a.m. and is expected to
last 2 to 3 days.

Without good cause, the amended dates set by this order will

not be modified or extended.

30 oRDERED this lsd§aay cf Aprii, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

 

April 19, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02279 Was distributed by fax, mail, or direct printing on

ESSEE

 

Edward D_ Landquist
WADDEY & PATTERSON
414 Union St_

Ste_ 2020

Nashville, TN 372 l 9

Robert L_ Crawford

WYATT TARRANT & COl\/[BS
P_O_ Box 775000

l\/lemphis7 TN 38177--500

Lisa C_ DeJaco

WYATT TARRANT & COl\/[BS
Citizens Plaza

Louisville, KY 40202--289

Glen G_ Reid

WYATT TARRANT & COl\/[BS
P_O_ Box 775000

l\/lemphis7 TN 38177--500

Valerie B_ Speakman
JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr_
l\/lemphis7 TN 38018

ShaWn D_ Sentilles

WRIGHT MEDICAL TECHNOLOGY, INC_
5677 Airline Rd_

Arlington, TN 38002--950

David R_ Roodman
BRYAN CAVE LLP
21 l No_ Broadway
Ste_ 3600

St_ Louis7 MO 63102

Case 2:04-cv-O2279-SH|\/|-tmp Document 26 Filed 04/19/05 Page 4 of 4 Page|D 38

Lisa Demet Martin
BRYAN CAVE LLP
21 l No_ Broadway
Ste_ 3600

St_ Louis7 MO 63102

J ames L_ Holt

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr_

l\/lemphis7 TN 38018

Honorable Samuel Mays
US DISTRICT COURT

